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                                                                 10
                                                                                              UNITED STATES DISTRICT COURT
                                                                 11
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                         2850 W. Horizon Ridge Pkwy, Suite 200




                                                                 12                                   DISTRICT OF NEVADA
                               Henderson, Nevada 89052




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                                                                       RAYMUNDA SANTOS,                               Case No.: 2:21-cv-01047-JCM-EJY
                                                                 14
                                                                                           Plaintiff(s),
                                                                 15

                                                                 16          vs.                                      STIPULATION AND ORDER
                                                                 17
                                                                                                                      DISMISSING ACTION AGAINST
                                                                       MILLIMAN, INC.,                                MILLIMAN, INC., WITH
                                                                 18                                                   PREJUDICE
                                                                 19                        Defendant(s).
                                                                 20
                                                                            IT IS HEREBY STIPULATED by and between Raymunda Santos (“Plaintiff”) and
                                                                 21
                                                                      Defendant Milliman, Inc. (“Milliman”), collectively the “Parties,” by and through their
                                                                 22

                                                                 23   counsel of record, that the above-entitled action shall be dismissed, with prejudice,
                                                                 24
                                                                      pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). Accordingly, the Parties request that the Court
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                                                                 26   dismiss Milliman from this action and close the case.
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                                                                            IT IS HEREBY FURTHER STIPULATED that the Parties shall bear their own
                                                                 1

                                                                 2    attorney's fees, costs, and expenses.
                                                                 3

                                                                 4
                                                                            STIPULATED and DATED on October 1, 2021.

                                                                 5

                                                                 6           /s/ Shawn W. Miller         .          /s/ Patrick G. Byrne        .
                                                                             David H. Krieger, Esq.                 Patrick G. Byrne, Esq.
                                                                 7
                                                                             Shawn W. Miller, Esq.                  SNELL & WILMER, LLP
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                                                                 10          Henderson, Nevada 89052                Attorneys for Defendant
                                                                 11          Attorneys for Plaintiff                Milliman, Inc.
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                                                                             Raymunda Santos
                         2850 W. Horizon Ridge Pkwy, Suite 200




                                                                 12
                               Henderson, Nevada 89052




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                                                                 14
                                                                                                              ORDER
                                                                 15

                                                                 16
                                                                            IT IS SO ORDERED.
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                                                                                                              ____________________________________
                                                                                                               ___________________________
                                                                 18                                           UNITED
                                                                                                               NITED STATES DISTRICT JJUDGE
                                                                                                              UN
                                                                 19

                                                                 20                                                   October 4, 2021
                                                                                                              Dated:_______________________________
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